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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JOHN ANTHONY CASTRO,                            §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §            Civil Action No. 3:18-cv-645-M
                                                §
GEORGETOWN UNIVERSITY and NAN                   §
HUNTER,                                         §
                                                §
       Defendants.                              §

                          MEMORANDUM OPINION AND ORDER

        Before the Court is a Motion to Dismiss (ECF No. 13), filed by Defendants Georgetown

University and Nan Hunter. After consideration, the Motion is GRANTED.

        I.      BACKGROUND

        Plaintiff John Anthony Castro, a Hispanic man, was a law student at Georgetown

University, in Washington, D.C. (1st Am. Compl, ECF No. 11 at ¶¶ 5, 6, 8). While Castro was

enrolled, the University allegedly learned that Castro had mischaracterized information on his

résumé and considered expelling him, but the University ultimately did not do so. (Id. at ¶¶ 9–

19).

        After graduating from Georgetown, Castro moved to Dallas, Texas to start an

international tax practice. (Id. at ¶¶ 4, 20). At some unidentified date, Castro alleges he applied

for his firm to attend Georgetown’s “Taxation Interview Program” to interview graduates of

Georgetown’s Master of Laws in Taxation program. (Id. at ¶ 20). The law school denied

Castro’s application. (Id. at ¶ 21). Castro placed a phone call to the law school to ask why his

application was denied, and he was allegedly told that Defendant Hunter, an associate dean at the

law school, did not want him to participate. (Id. at ¶¶ 5, 21).




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          On March 19, 2018, Castro filed this lawsuit, asserting claims against Defendants for

discrimination, retaliation, and tortious interference with prospective business relations. (ECF

No. 1).

          On May 14, 2018, Defendants filed a Motion to Dismiss, arguing that this Court lacks

personal jurisdiction over Defendants, and that Castro failed to allege a plausible claim for relief.

(ECF No. 13). Castro filed no response to the Motion to Dismiss. (ECF No. 18).

          II.    LEGAL STANDARD

          If a court lacks personal jurisdiction, it cannot adjudicate the merits of the asserted

claims. Pervasive Software Inc. v. Lexware GmbH & Co. KG, 688 F.3d 214, 231–32 (5th Cir.

2012) (affirming district court’s decision to dismiss case for lack of personal jurisdiction, without

separately ruling on the defendant’s pending Rule 12(b)(6) arguments).

          Castro has the burden to establish a prima facie case that Defendants are subject to

personal jurisdiction in Texas. Sangha v. Navig8 ShipManagement Private Ltd., 882 F.3d 96,

101 (5th Cir. 2018). Personal jurisdiction may be exercised over a defendant when a state’s

long-arm statute authorizes service of process, and the assertion of jurisdiction would be

consistent with the requirements of due process. Pervasive Software, 688 F.3d at 220. Because

the Texas long-arm statute is coextensive with the limits of due process, the Court need only

analyze whether the exercise of personal jurisdiction would violate due process. See Purcel v.

Advanced Bionics Holding Corp., No. 3:07-CV-1777-M, 2008 WL 4790998, at *1 (N.D. Tex.

2008). Due process requirements are satisfied if the non-resident defendant has “certain

minimum contacts with [the forum state] such that the maintenance of the suit does not offend

traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. State of Wash., Office of

Unemployment Comp. & Placement, 326 U.S. 310, 316 (1945) (internal quotations omitted).




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        Two types of minimum contacts support jurisdiction over a defendant: contacts that give

rise to general personal jurisdiction and contacts supporting specific personal jurisdiction. See

Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 418 (1984). A court may

exercise general jurisdiction over a defendant entity only if the entity’s “affiliations with the

State in which suit is brought are so constant and pervasive ‘as to render [the defendant] at home

in the forum State.’” Daimler AG v. Bauman, 134 S. Ct. 746, 751 (2014) (quoting Goodyear

Dunlop Tires Ops., S.A. v. Brown, 131 S. Ct. 2846 (2011)); see New World Int’l, Inc. v. Ford

Glob. Techs., LLC, No. 3:15-CV-01121-M, 2016 WL 1069675, at *3 (N.D. Tex. 2016) (Lynn,

J.). To satisfy this standard, the entity must be incorporated in the state, headquartered in the

state, or have some other equivalent presence in the state. BNSF Ry. Co. v. Tyrrell, 137 S. Ct.

1549, 1553 (2017).

        For specific jurisdiction, a plaintiff must show that (1) the defendant purposefully

directed his activities at residents in the forum, (2) the litigation results from alleged injuries that

arise from or relate to the defendant’s activities in the forum, and (3) the exercise of jurisdiction

will comport with “fair play or substantial justice.” Burger King Corp. v. Rudzewicz, 471 U.S.

462, 472 (1985) (citing Int’l Shoe, 326 U.S. 310). A defendant’s isolated or occasional activities

in the forum are insufficient to establish jurisdiction if the “nature and quality and the

circumstances” of those activities establish only an attenuated affiliation with the forum. Id. at

475–76 n.18. The mere fortuity that a plaintiff happens to be a resident of the forum is not

enough to support specific jurisdiction. Panda Brandywine Corp. v. Potomac Elec. Power Co.,

253 F.3d 865, 870 (5th Cir. 2001).

        III.    ANALYSIS

        Because Plaintiff chose not to respond to the Motion to Dismiss, the Court must judge the

issue of jurisdiction by analyzing the Complaint. General jurisdiction over Defendants is lacking



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in this case. Both Defendants are located in Washington, D.C. (ECF No. 11 at ¶¶ 5,6). Castro

does not allege that either Defendant has any other connection with Texas. Thus, Castro has not

shown that either Defendant is “at home” in Texas, and general jurisdiction over Defendants

does not exist. See My Fabric Designs, Inc. v. F+W Media, Inc., No. 3:17-CV-2112-L, 2018

WL 1138436, at *8 (N.D. Tex. 2018).

       Castro also has not set forth a basis for this Court to exercise specific jurisdiction over

Defendants. Defendants’ only alleged contact with Texas is that Castro, a Texas resident, placed

a phone call, on an unidentified date, to Georgetown University’s Career Services Office. (ECF

No. 11 at ¶ 21). This single contact is not evidence that Defendants purposefully directed any

activities to Texas. Nothing about this communication shows that Defendants took any action in

or directed to Texas that gives rise to this lawsuit, so as to purposely avail themselves of the

benefits of doing business in Texas. See Moncrief Oil Int’l Inc. v. OAO Gazprom, 481 F.3d 309,

313 (5th Cir. 2007); Tornado Bus Co. v. Bus & Coach Am. Corp., No. 3:14-CV-3231-M, 2014

WL 7333873, at *3 (N.D. Tex. Dec. 23, 2014).

       The Court therefore concludes that it lacks personal jurisdiction over Defendants.

       IV.     CONCLUSION

       Because Castro has failed to allege a basis for this Court to exercise personal jurisdiction

over Defendants, Defendants’ Motion to Dismiss is GRANTED and this case is DISMISSED

WITHOUT PREJUDICE.

       SO ORDERED.

       August 14, 2018.



                                                       _________________________________
                                                       BARBARA M. G. LYNN
                                                       CHIEF JUDGE



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